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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIvISION Us~Hn-lZ PH 5=3h
M_M. GUULD
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X Wi@ 05‘ `H`£, F,€;.":'FHS
COREY B. HAYNES, X
X
Plaintiff, X
X
vs. X No. 05-2370-D/V
X
cITY oF DYERSBURG, et al., X
X
Defendants. X
X

 

ORDER ASSESSING $250 CIVIL FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AIUD
NOTICE OF APPELLATE FILING FEE

 

Plaintiff Corey B. Haynes, Tennessee Department of
Correction (“TDOC”) prisoner number 299024, an inmate at the West
Tennessee State Penitentiary (“WTSP”) in Henning, Tennessee, filed
a pro §_ complaint pursuant to 42 U.S.C. § 1983 on May 13, 2005 in
connection with his previous confinement at the Dyer County Justice
Center (“Jail”). The Clerk shall record the defendants as the City

of Dyersburg and Dyer County.1

 

1 The Court construes the plaintiff's allegations concerning the Jail

as an attempt to assert a claim against Dyer County.

The complaint also purports to sue the unnamed doctor who examined
the plaintiff while he was incarcerated at the Jail. However, service of process
cannot be made on a fictitious party. Moreover, the filing of a complaint against
“John Doe” defendants does not toll the running of the statute of limitation
against those parties. §g§ Cox v. Treadway, 75 F.3d 230, 240 (Eth Cir. 1996);

(continued...)

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I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (“PLRA”),
28 U.S.C. § 1915(b), all prisoners bringing a civil action must pay
the full filing fee of $250 required by 28 U.S.C. § 1914(a).2 The
in forma pauperis statute, 28 U.S.C. § 1915(a), merely provides the
prisoner the opportunity to make a “downpayment” of a partial
filing fee and pay the remainder in installments.

In this case, the plaintiff has properly completed and
submitted an ln_fg;mg_pauperis affidavit containing a certification
by the trust fund officer and a trust fund account statement.
Pursuant to 28 U.s.C. § 1915(b)(l), it: is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out
this order. It is further ORDERED that the trust fund officer at
plaintiff’s prison shall calculate a partial initial filing fee
equal to twenty percent (20%) of the greater of the average balance
in or deposits to the plaintiff’s trust fund account for the six
months immediately preceding the completion of the affidavit. When
the account contains any funds, the trust fund officer shall
collect them and pay them directly to the Clerk of Court. If the

funds in plaintiff’s account are insufficient to pay the full

 

1 (...continued)

Bufalino v. Michigan Bell Telephone Co., 404 F.2d 1023, 1028 (Sth Cir. 1968).
Thus, to the extent plaintiff seeks to bring any complaint against any other
individual or entity, he must identify the defendant and file a new lawsuit
within the one-year statute of limitations applicable to § 1983 actions. Tenn.
Code Ann. § 28-3-104(a).

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to $250.

Effective March 7, 2005, the civil filing fee was increased from $150

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amount of the initial partial filing fee, the prison official is
instructed to withdraw all of the funds in the plaintiff’s account
and forward them to the Clerk of Court. On each occasion that funds
are subsequently credited to plaintiff’s account the prison
official shall immediately withdraw those funds and forward them to
the Clerk of Court, until the initial partial filing fee is paid in
full.

It is further ORDERED that after the initial partial
filing fee is fully paid, the trust fund officer shall withdraw
from the plaintiff's account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits
credited to plaintiff’s account during the preceding month, but
only when the amount in the account exceeds $10.00, until the
entire $250.00 filing fee is paid.

Each time that the trust fund officer makes a payment to
the Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff's name and the case number on

the first page of this order.

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If plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his
change of address. If still confined he shall provide the officials
at the new prison with a copy of this order.

If the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's
prison. The Clerk is further ORDERED to forward a copy of this
order to the warden of the WTSP to ensure that the custodian of the
plaintiff’s inmate trust account complies with that portion of the
PLRA pertaining to the payment of filing fees.

The obligation to pay this filing fee shall continue
despite the immediate dismissal of this case. 28 U.S.C. §
1915(e)(2). The Clerk shall not issue process or serve any papers
in this case.

II. Analysis of Plaintiff's Claims

The complaint alleges that, in March of 2004, plaintiff
advised the doctor at the Jail that he had a venereal infection.
The doctor responded by stating that the plaintiff was “perfectly
OK” and need. not visit hin\ under such circumstances anymore.

Plaintiff then called his girlfriend and asked her to inform the

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Dyer County Health Department that plaintiff had a venereal
disease. Plaintiff's girlfriend was tested and diagnosed. with
chlamydia, and the Health Department recommended that plaintiff be
brought to their clinic for treatment. Plaintiff was diagnosed with
chlamydia and received antibiotics. He complains that he was forced
to endure this condition for at least one month because of the
actions of the doctor, and he had to, take two courses of
antibiotics, instead of one, because of the delay.

The plaintiff seeks $500,000 in damages.

The Court is required to screen prisoner complaints and
to dismiss any complaint, or any portion thereof, if the complaint~

(1) is frivolous, malicious, or fails to state a
claim upon which relief may be granted; or

(2) seeks monetary relief from a defendant who is
immune from such relief.

28 U.S.C. § 1915A(b); See also 28 U.S.C. § 1915(e}(2)(B). Even
claims that have not been exhausted may be dismissed on the merits.
42 U.S.C. § 1997e(c)(2).3 Plaintiff's complaint is subject to
dismissal in its entirety.

The complaint does not appear to allege an Eighth

Amendment claim.4 The Eighth Amendment prohibits cruel and unusual

 

3 In this case, the complaint alleges that the Jail does not have an

inmate grievance procedure and, therefore, 42 U.S.C. § 1997e(a) is inapplicable.
4 Convicted inmates' rights stem from the Eighth Amendment, while pre-

trial detainees' rights stem from the Fourteenth Amendment. Thompson v. County
of Medina, 29 F.Bd 238, 242 (6th Cir. 1994); Roberts v. City of Troy, 773 F.2d
720, 723 (6th Cir. 1985). The scope of a detainee's Fourteenth Amendment rights
are equivalent to that of a convicted inmate under the Eighth. Amendment.
(continued...)

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punishment. See generally Wilson v. Seiter, 501 U.S. 294 (1991). An
Eighth Amendment claim consists of both objective and subjective
components. Farmer v. Brennan, 511 U.S. 825, 834 (1994); Hudson v.
MCMillian, 503 U.S. l, 8 (1992); Wilson, 501 U.S. at 298; BrOOkS v.
Celeste, 39 F.3d 125, 127-28 (Gth Cir. 1994); Hunt v. Reynolds, 974
F.2d 734, 735 (6th Cir. 1992). The objective component requires
that the deprivation be “sufficiently serious.” Farmer, 511 U.S. at
834; Hudson, 503 U.S. at 8; Wilson, 501 U.S. at 298. The subjective
component requires that the official act with the requisite intent,
that is, that he have a “sufficiently culpable state of mind.”
Farmer, 511 U.S. at 834; Wilson, 501 U.S. at 297, 302-03.

The Eighth Amendment proscription of cruel and unusual
punishment prohibits prison authorities from displaying deliberate
indifference to the serious medical needs of prisoners, because
such indifference constitutes the “unnecessary and wanton
infliction of pain.” Estelle v. Gamble, 429 U.S. 97, 104 (1976). “A
medical need is serious if it is one that has been diagnosed by a
physician as mandating treatment or one that is so obvious that
even aa lay person would easily recognize the necessity for a

doctor's attention." Ramos v. Lamm, 639 F.2d 559, 575 (10th Cir.

 

4 (...continued)

Thompson, 29 F.3d at 242; Roberts, 773 F.2d at 723; see also Rankin v.
Klevenha en, 5 F.3d 103, 107 (5th Cir. 1993); Valencia v. Wiggins, 981 F.2d 1440,
1446 (5th Cir. 1993). See generally Graham v. Connor, 490 U.S. 386, 395 n.lO
(1989); Vineyard v. Countv of Murrav, 990 F.2d 1207, 1211-12 (llth Cir. 1993);
Gilland v. Owens, 718 F. Supp. 665, 682-83 (W.D. Tenn. 1989). In this case, it
is not clear whether the plaintiff was a pretrial detainee at the time of the
incident in question. As the scope of his rights are equivalent in any event, the
Court will analyze his claims under Eighth Amendment principles.

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1980) (quoting Laaman v. Helgemoe, 437 F. Supp. 269, 311 (D.N.H.
1977) ) .

To establish liability under the Eighth Amendment for a
claim based on failure to prevent harm to a prisoner, a plaintiff
must show that the prison officials acted with “deliberate
indifference” to a substantial risk that the prisoner would suffer
serious harm. Farmer, 511 U.S. at 834; Helling v. McKinney, 509

U.S. 25, 32 (1993); Woods v. Lecureux, 110 F.3d 1215, 1222 (6th

Cir. 1997); Street v. Corrections Corp. of Am., 102 F.3d 810, 814

(6th Cir. 1996); Taylor v. Michigan Dep't of Corrections, 69 F.3d

76, 79 (6th Cir. 1995). “[D]eliberate indifference describes a
state of mind more blameworthy than negligence.” Farmer, 511 U.S.

at 835. Thus,

a prison official cannot be found liable under the
Eighth Amendment for denying an inmate humane conditions
of confinement unless the official knows of and
disregards an excessive risk to inmate health or safety;
the official must both be aware of facts from which the
inference could be drawn that a substantial risk of
serious harm existsl and he must also draw the inference.
This approach comports best with the text of the Eighth
Amendment as our cases have interpreted it. The Eighth
Amendment does not outlaw cruel and unusual “conditions”;
it outlaws cruel and unusual “punishments.” An act or
omission unaccompanied.by knowledge of a significant risk
of harm might well be something society wishes to
discourage, and if harm does result society might well
wish to assure compensation. The common law reflects such
concerns when it imposes tort liability cmi a purely
objective basis. . . . But an official's failure to
alleviate a significant risk that he should have
perceived but did not, while no cause for commendation,
cannot under our cases be condemned as the infliction of
punishment.

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lgy at 837-38 (emphasis added; citations omitted).

In this case, it appears likely that plaintiff has failed
to establish the subjective component of an Eighth .Amendment
violation. At most, it appears that the doctor failed to diagnose
the plaintiff's chlamydia, and the complaint does not allege that
the plaintiff suffered physical symptoms that made it obvious he
was in need of immediate medical attention. At most, then,
plaintiff has a clainl against the unnamed doctor forl medical
malpractice, which does not rise to the level of a constitutional
violation merely because the victim is a prisoner. Estelle, 429
U.S. at 105»06 ; see also Sanderfer v. Nichols, 62 F.3d 151, 154
(6th Cir. 1995) (“Deliberate indifference . . . does not include
negligence in diagnosing a medical condition.”).

Moreover, even if the complaint were to state a claim
against the doctor, who is not a party to this action, it does not
follow that the City of Dyersburg and Dyer County are liable to the
plaintiff. A local governmental entity “is not vicariously liable
under § 1983 for the constitutional torts of its agents: It is only

liable when it can be fairly said that the city itself is the

wrongdoer.” Collins v. City of Harker Heights, 503 U.S. 115, 121
(1992); see also Jett v. Dallas Indep. School Dist., 491 U.S. 701,

726-29 (1989) (discussing history of civil rights statutes and
concluding that Congress plainly did not intend to impose vicarious

liability on counties, municipalities or other local governmental

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bodies); Citv' of Canton v. Harris, 489 U.S. 378, 388 (1989)
(rejecting simple vicarious liability for municipalities under §
1983); City of St. Louis v. Praprotnik, 458 U.S. 112, 122 (1988)
(interpreting rejection of respondeat superior liability by Monell
v. Dep't of Soc. Servs., 436 U.S. 658, 691 (1978), as a command
that “local governments . . . should be held responsible when, and
only when, their official policies cause their employees to violate
another person's constitutional rights”); Pembaur v. Citv of
Cincinnati, 475 U.S. 469, 480-81 (1986) (same); Stemler v. City of
Florence, 126 F.3d 856, 865 (6th Cir. 1997) (rejecting claims
against city and county and holding that “in order to state a claim
against a city or a county under § 1983, a plaintiff must show that
his injury was caused by an unconstitutional ‘policy' or ‘custom'
of the municipality”). Thus, to establish a basis for municipal
liability, a plaintiff must demonstrate
(1) that the City pursued an official custom or policy of
failing to adequately train, supervise, or discipline its
officers in a particular matter, and (2) that such
official policy or custom was adopted by the official
makers of policy with “deliberate indifference” towards
the constitutional rights of persons affected by the
policy or custom.
Haverstick v. Financial Fed. Credit, Inc., 32 F.3d 989, 996 n.8
(6th Cir. 1994) (citing City of Canton, 489 U.S. at 387-88). Thus,

“‘a plaintiff must “identify the policy, connect the policy to the

city itself and show that the particular injury' was incurred

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because of the execution of that policy.”’” Searcy v. City of
Dayton, 38 F.3d 282, 287 (6th Cir. 1994) (citations omitted).

The plaintiff's complaint, even construed liberally,
Haines v. Kerner, 404 U.S. 519 (1972), does not allege that the
plaintiff's injury was caused by an unconstitutional policy or
custonl of either the City' or the County. The fact that the
plaintiff received treatment after the Health Department contacted
the Jail suggests that there was no policy or custom but, rather,
the failure by a single doctor to correctly diagnose the
plaintiff's condition.

Finally, a one-year statute of limitations is applicable
to § 1983 actions in Tennessee. Tenn. Code Ann. § 28~3»104(a); ppg
Wilson v. Garcia, 471 U.S. 261, 266-268 (1985); Bernt v. Tennessee,
796 F.2d 879 (6th Cir. 1986). The complaint alleges that plaintiff
first visited the doctor in March of 2004 and, although it does not
specifically state when he received treatment for his condition, he
asserts that he suffered for approximately one month. The complaint
in this action was not filed until May 13, 2005 and, even if the
plaintiff is given the benefit of the postmark date of May 11,
2005, gee Houston v. Lack, 487 U.S. 255 (1988), it is probably time
barred.

Accordingly, the Court DISMISSES the complaint, in its

entirety, pursuant to 28 U.S.C. §§ 1915(e)(2)(B)(ii) and

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1915A(b)(1), for failure to state a claim on which relief may be
granted.
III. Appeal Issues

The next issue to be addressed is whetherl plaintiff
should. be allowed to appeal this decision _ip _fg;ma_ pauperis.
Twenty»eight U.S.C. § 1915(a)(3) provides that an appeal may not be
taken pp fp;mg pauperis if the trial court certifies in writing
that it is not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). An appeal is not taken in
good faith if the issue presented is frivolous. ldy_Accordingly, it
would be inconsistent for a district court to determine that a
complaint should be dismissed prior to service on the defendants,
yet has sufficient merit to support an appeal ip fg;pg pauperis.
See Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983).
The same considerations that lead the Court to dismiss this case
for failure to state a claim also compel the conclusion that an
appeal would not be taken in good faith.

It is therefore CERTIFIED, pursuant to 28 U.S.C. §
1915(a)(3), that any appeal in this matter by plaintiff is not
taken in good faith and plaintiff may not proceed on appeal ip

forma pauperis.

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The final matter to be addressed is the assessment of a
filing fee if plaintiff appeals the dismissal of this case.5 In
McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997), the
Sixth Circuit set out specific procedures for implementing the
PLRA. Therefore, the plaintiff is instructed that if he wishes to
take advantage of the installment procedures for paying the
appellate filing fee, he must comply with the procedures set out in
McGore and § 1915(b).

For analysis under 28 U.S.C. § 1915(g) of future filings,
if any, by this plaintiff, this is the first dismissal of one of
his cases as frivolous or for failure to state a claim.

IT Is so oRDE:RED this ¢2,*" day of July, 2005.

. DOBH\LD
ITED STATES DISTRICT JUDGE

 

 

5 Effective November 1, 2003, the fee for docketing an appeal is $250.
See Judicial Conference Schedule of Fees, j 1, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing, or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

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DIS,ITRCT COURT - WESRNTE DISCTRIT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02370 Was distributed by faX, mail, or direct printing on
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Corey B. Haynes

WEST TENNESSEE STATE PENITENTIARY
00299024

P.O. Box l 150

Henning, TN 38041

Honorable Bernice Donald
US DISTRICT COURT

